                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In Re:                                              )      Case No. 23 B 16481
                                                    )
FRANK MARTIN PARIS, JR.,                            )      Chapter 7
                                                    )
                            Debtor.                 )      Hon. David D. Cleary

 NOTICE OF MOTION OF SANTANDER CONSUMER USA INC., D/B/A CHRYSLER
CAPITAL, AS SERVICER FOR CCAP AUTO LEASE LTD. FOR RELIEF FROM STAY

VIA ELECTRONIC NOTICE:
To:   Ira Bodenstein, Esq. (Trustee)
      Cozen O’Connor
      123 North Wacker Drive, Suite 1800
      Chicago, Illinois 60606

VIA U.S. MAIL:
To:   Frank Martin Paris, Jr. (Debtor)
      1525 West Home, Suite 400
      Chicago, Illinois 60642

        Please take notice that on July 3, 2024 at 10:00 a.m., I will appear before the Honorable
David D. Cleary, or any judge sitting in that judge’s place, either in courtroom 644 of the
Dirksen U.S. Courthouse at 219 South Dearborn, Chicago, Illinois, or electronically as described
below, and present the Motion of Santander Consumer USA Inc., d/b/a Chrysler Capital, as
servicer for CCAP Auto Lease Ltd. for Relief from Stay, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828-7666. Then enter the meeting ID and passcode.

       Meeting ID and passcode. The meeting ID for this hearing is 161 122 6457 and the
passcode is Cleary644. The meeting ID and passcode can also be found on the judge’s page on
the court’s web site.




Santander/Paris/Motion for Relief from Stay
        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.

                                                 Respectfully submitted,

                                                 SANTANDER CONSUMER USA INC., D/B/A
                                                 CHRYSLER CAPITAL, AS SERVICER FOR
                                                 CCAP AUTO LEASE LTD.,
                                                 Creditor,

                                                 By: ___/s/ Cari A. Kauffman___
                                                 One of its attorneys
David J. Frankel (Ill. #6237097)
Cari A. Kauffman (Ill. #6301778)
Sorman & Frankel, Ltd.
180 North LaSalle Street, Suite 2700
Chicago, Illinois 60601
(312) 332-3535 / (312) 332-3545 (facsimile)


                                         CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the above-named persons by electronic filing or, as noted
above, by placing same in a properly addressed and sealed envelope, postage prepaid, and
depositing it in the United States Mail at 180 North LaSalle Street, Chicago, Illinois on June 21,
2024, before the hour of 5:00 p.m.


                                                        ___/s/ Cari A. Kauffman___




Santander/Paris/Motion for Relief from Stay
                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In Re:                                               )       Case No. 23 B 16481
                                                     )
FRANK MARTIN PARIS, JR.,                             )       Chapter 7
                                                     )
                            Debtor.                  )       Hon. David D. Cleary

   MOTION OF SANTANDER CONSUMER USA INC., D/B/A CHRYSLER CAPITAL,
     AS SERVICER FOR CCAP AUTO LEASE LTD. FOR RELIEF FROM STAY

         SANTANDER CONSUMER USA INC., D/B/A CHRYSLER CAPITAL, AS

SERVICER FOR CCAP AUTO LEASE LTD. (“Santander”), a creditor herein, by its attorneys,

the law firm of Sorman & Frankel, Ltd., respectfully requests this Court, pursuant to Section 362

of the Bankruptcy Code, 11 U.S.C. §362 (West 2024), and such other Sections and Rules may

apply, to enter an Order granting relief from the stay provided therein. In support thereof,

Santander states as follows:

         1. On December 8, 2023, Frank Martin Paris, Jr. (“Debtor”) filed a Voluntary Petition

for Relief under Chapter 7 of the Bankruptcy Code.

         2. Santander is a lessor of the Debtor with respect to a lease on a 2021 Jeep Wrangler

motor vehicle bearing a Vehicle Identification Number of 1C4HJXDN8MW637123 (the

“Vehicle”). (See Ex. “A”).

         3. The current buyout for the Vehicle is $31,847.17.

         4. Debtor has failed to provide Santander with proof of full coverage insurance for the

Vehicle listing Santander as the owner/lessor and has failed to make required payments to

Santander due on and after January 21, 2014.

         5. Debtor returned the Vehicle to Santander as the least has terminated.




Santander/Paris/Motion for Relief from Stay
         6. As such, Santander seeks relief from the automatic stay so that Santander may sell the

Vehicle and apply the sales proceeds to the balance due from Debtor.

         7. Debtor has not offered, and Santander is not receiving, adequate protection for its

secured interest or depreciating value. Further, Debtor has no equity in the Vehicle and the

Vehicle is not necessary to an effective reorganization by Debtor.

         8. Santander will suffer irreparable injury, harm, and damage should it be delayed in

foreclosing its security interest in the Vehicle.

         9. Santander requests that Bankruptcy Rule 4001(a)(3) not apply to any Order granting

this Motion.

         WHEREFORE, Santander Consumer USA Inc., d/b/a Chrysler Capital, as servicer for

CCAP Auto Lease Ltd. respectfully requests that this Court enter an Order, as attached hereto,

granting relief from the stay provided by Section 362 of the Bankruptcy Code to permit

Santander to pursue its nonbankruptcy remedies with respect to the 2021 Jeep Wrangler motor

vehicle bearing a Vehicle Identification Number of 1C4HJXDN8MW637123; and, for such

other, further, and different relief as this Court deems just and proper.

                                               Respectfully submitted,

                                               SANTANDER CONSUMER USA INC., D/B/A
                                               CHRYSLER CAPITAL, AS SERVICER FOR
                                               CCAP AUTO LEASE LTD.,
                                               Creditor,

                                               By: ___/s/ Cari A. Kauffman___
                                               One of its attorneys
David J. Frankel. (Ill. #6237097)
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Santander/Paris/Motion for Relief from Stay
